Case 2:Ol-CV-02503-SH|\/|-tmp Document 649 Filed 08/23/05 Page 1 of 4 Page|D 758

 

IN THE UNITED sTATES DISTRICT coURT H|.ED ev ne
FoR THE wEsTERN DISTRICT oF TENNESSEE "" ' '
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FEDERAL EXPRESS coRPoRATIoN, CL£H<US §-»np%m
. . W-@@’“ ‘»‘P*APHS
Plaintiff, “"
vs. No. 01-2503-MaP

ACCU SORT SYSTEMS, INC.,

Defendant.

 

ORDER GRANTING MO'I'ION TO EXTEND TIME

 

Before the court is plaintiff’s August 19, 2005, unopposed
motion requesting additional time within which to file responses
to all of Accu Sort’s pending motions in limine, and to Accu
Sort’s motion for discovery on plaintiff's trade secret
contentions. For good cause shown, the motion is granted. FedEx
will have additional time to and including August 24, 2005.
within which to file a response Accu Sort's outstanding motions
in limine, and to and including September 2, 2005, within which
to respond to Accu Sort's motion for discovery on FedEx's trade

secret contentions.

It is so ORDERED this 2'2°'(day of August, 2005.

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Cynthia D Vreeland

WILMER CUTLER PICKERING HALE & DORR LLP
60 State St.

130ston7 MA 02109

Anthony Volpe

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

.1 ohn .1 O'Malley

VOLPE & KOENIG, P.C.
30 S. 17th St.

Ste. 1600

Philadelphia, PA 19103

Michael W. Higginbotham

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building 13.

1\/1emphis7 TN 38125--880

Frank 1\/1. Holbrook

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/lemphis7 TN 38119

.1 ohn R. Branson

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/lemphis7 TN 38119

Michael R. Heyison

WILMER CUTLER PICKERING HALE & DOOR LLP
60 State St

130ston7 MA 02109

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Charles F. Morrow

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC
6075 Poplar Ave.

Ste. 500

1\/lemphis7 TN 38119

.1 ohn G. Fabiano

WILMER CUTLER PICKERING HALE & DOOR LLP
60 Hale St

130ston7 MA 02109

Stephen R. Cochell
FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building 13.
1\/1emphis7 TN 38125--880

.1 ohn Patterson Brumbaugh
KING & SPALDING

191 Peachtree St. N.E.
Atlanta, GA 30303--176

Cynthia .1. Collins

FEDEX CORPORATION
3620 Hacks Cross Rd.
Third Floor, Building 13.
1\/1emphis7 TN 38125--880

.1. Brook Lathram

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Grady M. Garrison

BUTLER SNOW O'MARA STEVENS & CANNADA, PLLC
P.O.B0X171443

1\/1emphis7 TN 38187--144

David Wade

MARTIN TATE MORROW & MARSTON
6410 Poplar Ave.

Ste. 1000

1\/lemphis7 TN 38119

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Honorable Samuel Mays
US DISTRICT COURT

